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7                          UNITED STATES DISTRICT COURT
8
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
                                  WESTERN DIVISION
10
11    UNITED STATES OF AMERICA,       ) No.: CV 17-03803-PSG(JPRx)
                                      )
12              Plaintiff,            ) [PROPOSED] CONSENT JUDGMENT OF
                                      ) FORFEITURE
13         vs.                        )
14                                    )
      $40,000.00 IN U.S. CURRENCY,    )
15                                    )
                Defendant.            )
16    _______________________________ )
17                                    )
      RICHARD EVANS,
                                      )
18                                    )
                Claimant.             )
19                                    )
20
21         Plaintiff United States of America (the “government”) and
22    claimant Richard Evans (“Claimant”) have entered into a
23    stipulated request for the entry of this consent judgment of
24    forfeiture resolving all interests the Claimant may have in the
25    defendant, namely, $40,000.00 in U.S. Currency (the “defendant
26    currency”).
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1           This civil forfeiture action was commenced on May 19, 2017.
2     Notice was given and published according to law.          Claimant filed
3     a claim and notice of interested parties on June 26, 2017 (Dkts.
4     11 & 12), and an answer on July 17, 2017 (Dkt. 16).          No other
5     claims or answers were filed, and the time for filing claims and
6     answers has expired.
7           The Court has been duly advised of and has considered the
8     matter.    Based upon the mutual consent of the parties hereto and
9     good cause appearing therefor, the Court hereby ORDERS, ADJUDGES
10    AND DECREES that the entirety of the defendant currency
11    ($40,000.00), plus all interest earned on the entirety of the
12    defendant currency since seizure, is hereby forfeited to the
13    United States, and no other right, title or interest shall exist
14    therein.   The government shall dispose of the defendant
15    according to law.
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1          Each of the parties shall bear its own fees and costs in
2     connection with this seizure, retention and return of the
3     defendant currency.
4
5     DATED: 2/5         , 2018
                                         UNITED STATES DISTRICT JUDGE
6
7     Presented by:
8
      NICOLA T. HANNA
9     United States Attorney
      LAWRENCE S. MIDDLETON
10    Assistant United States Attorney
11    Chief, Criminal Division
      STEVEN R. WELK
12    Assistant United States Attorney
      Chief, Asset Forfeiture Section
13
14
        /s/ Frank D. Kortum
15    FRANK D. KORTUM
      Assistant United States Attorney
16
17
      Attorney for Plaintiff
18    UNITED STATES OF AMERICA

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